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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
EBHI HOLDINGS, INC., et ai.,' ) Case No. 09-12099 (MFW)
)
Debtors. ) Jointly Administered
)

 

ORDER GRANTING MOTION OF R.R. DONNELLEY & SONS COMPANY
FOR ENTRY OF AN ORDER VACATING SALE ORDER SOLELY WITH
RESPECT TO DONNELLEY’S CURE AMOUNT AND RELATED RELIEF

Upon the consideration of R.R. Donnelley & Sons Company’s (“Donnelley”) Motion For
Entry of an Order Vacating Sale Order Solely with Respect to Donnelley’s Cure Amount and
Related Relief (the “Motion”) and any opposition thereto; and having determined that notice was
proper and sufficient; and finding that good cause for the relief requested has been shown

IT IS HEREBY ORDERED THAT

1. The Motion is Granted.

2. The July 23, 2009 Order (A) Approving the Sale of the Debtors’ Assets Free and
Clear of All Liens, Claims, Encumbrances and Interests; (B) Authorizing the Assumption and
Assignment of Certain Executory Contracts and unexpired Leases; (C) Establishing Rejection
Procedures and Guidelines for Conducting Store Closing Sales; and (D) Extending the Deadline
to Assume or Reject Unexpired Leases of Nonresidential Real Property Pursuant to 11 U.S.C.

§ 365(d)(4) [Docket No. 508] (the “Sale Order’) is amended, solely with respect to Donnelley.

 

' The Debtors include Eddie Bauer. Inc., a Delaware corporation.

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so that Exhibit D of the Sale Order reflects $979,529.51 as the proper cure amount for

Donnelley.

 

Date:

 

Mary F. Walrath
United States Bankruptcy Judge

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